       Case: 1:15-cv-02855 Document #: 48 Filed: 10/31/16 Page 1 of 4 PageID #:281




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    WESTERN DIVISION


EDDIE H. MYLES,

                 Plaintiff,

v.                                                        No. 15-cv-02855

                                                          Assigned to: Judge Philip G. Reinhard
NEDRA CHANDLER,
                                                          Magistrate: Judge Iain D. Johnston
                 Defendant,

and

INTERNAL AFFAIRS OFFICER
CHRISTOPHER THOMPSON,

                 Defendant.

     LOCAL RULE 56.1(b)(3)(C) STATEMENT OF ADDITIONAL, DISPUTED FACTS

          NOW COMES Plaintiff Eddie Myles, by and through his attorneys, Vedder Price P.C.,

pursuant to L.R. 56.1(b)(3)(C) and in support of his Response to Defendants’ Motion for

Summary Judgment, hereby states the following facts which preclude Summary Judgment:


       1.    After Myles was placed in a cell with Shepard, they first had an altercation about
Myles’ bottom bunk permit. (Myles Dep. 26:3-18).1

      2.     Chandler would have been aware of the first incident between Myles and
Shepard. (Chandler Dep. 24:24-25:3). Chandler had responsibility for inmate violence issues.
(Chandler Dep. 16:10-13.)

       3.        Thompson would have been aware of the first incident with Shepard. (Myles Dep.
56:4-10).

        4.     Additionally, after their first incident, Thompson apologized to Myles for not
putting both him and Shepard into Segregation. (Myles Dep. 32:3-20).


1
    All deposition transcript references and exhibits are located in the attached Appendix.


CHICAGO/#2907113.2
       Case: 1:15-cv-02855 Document #: 48 Filed: 10/31/16 Page 2 of 4 PageID #:282




       5.     After the first incident, Myles was threatened by his former cellmate, Shepard.
(See Tab 5, Myles Dep. 15:19-16:9).

        6.      Shepard testified that, after the first incident, he was “upset” and “mad
at Plaintiff and “want[ed] to hit him.” (Shepard Dep. Tr. 55:4-11.)

      7.      Myles sent two letters regarding the threats by Shepard: one to Chandler and one
to Thompson. (Myles Dep. Tr. 69:24-70:14, Tab 5).

       8.       The letters Myles mailed to Chandler and Thompson were identical. (Myles Dep.
18:5-7).

       9.     The letter describes that Myles is not trying to get “shot” or “hurt” when he and
Shepard are out on the yard together, that Shepard is “talking crazy,” and how he will try to
avoid confrontation but wanted to warn them before anything happened. (See Tab 5).

       10.      Myles personally placed his letter to Warden Chandler in her box. (Myles Dep.
17:16-19).

         11.    Chandler does not recall receiving Myles’ letter. (Chandler Dep. 26:14-16).

         12.   Thompson does not deny receiving the letter. (Thompson Dep. Tr. 40:3-6). First,
Thompson testifies to not having received the letter. (Thompson 42:25-44:17). Then, Thompson
testified he did receive the letter, and simply does not remember when. (Thompson Dep. Tr.
59:7-18). Thompson produced the March 3, 2013 letter in discovery and attached it to his
motion. (Defendants’ Statement of Undisputed Material Facts (“SOF”), Doc. No. 42, Exhibit 5).

      13.     When an inmate writes Internal Affairs regarding a threat, an inquiry is usually
conducted. (Chandler Dep. 29:5-24).

         14.    Thompson would be involved in those inquiries. (Thompson Dep. 7:20-25; 11:6-
14).

        15.     Myles suffered injuries to his head, face, and eyes as a result of the second
incident; specifically a swollen left eye, a bump on his forehead, and abrasions. (Myles Dep. 74:
2-20, see also Tab 6).

         16.    Myles’ vision was impacted by the second incident. (Myles Dep. 74:11-23).

        17.    After the March 28, 2013 incident, Thompson had a direct conversation with
Myles about the letter and his failure to take action, which Thompson now does not recall.
(Thompson Dep. 48:4-25). During that conversation, Thompson told Myles that he apologized
for not honoring the letter that he received from Myles, not sending anyone to talk to Shepard to
do a thorough investigation, and noted that maybe if he, Thompson, had done something before
now, the altercation would not have happened. (Myles Dep. 36:3-37:4, 71:19-72:5).

       18.    Thompson told Myles that he had not dealt with the letter because something
urgent came up that required his attention. (Myles Dep. 71:19-72:5).

                                               -2-
CHICAGO/#2907113.2
     Case: 1:15-cv-02855 Document #: 48 Filed: 10/31/16 Page 3 of 4 PageID #:283




        19.     One option for Thompson or Chandler when an inmate puts internal affairs on
notice of a threat by another inmate is to transfer one of the inmates or put them into a different
area of the facility or in segregation. (Chandler Dep. 19:9-20:21.) The Dixon facility transferred
inmates approximately three times a month when an inmate raised a violence issue with another
inmate. (Chandler Dep. 23:12-25.) But it is undisputed that Myles was not transferred after the
March 3, 2013 letter.

        20.    After receiving the letter and after apologizing to Plaintiff, Thompson ultimately
transferred Shepard to another facility and stopped Plaintiff’s disciplinary transfer. (Myles Dep.
52:14-20).

                                                  Respectfully submitted,

                                                  EDDIE MYLES



                                                  By:    s/ Patrick W. Spangler
                                                         One of His Attorneys
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Dated: October 31, 2016




                                               -3-
CHICAGO/#2907113.2
   Case: 1:15-cv-02855 Document #: 48 Filed: 10/31/16 Page 4 of 4 PageID #:284




                            CERTIFICATE OF SERVICE

      I, Patrick W. Spangler, an attorney, state that I caused a copy of the foregoing

RESPONSE TO STATEMENT OF FACT to be served on this 31st day of October, 2016 upon:

                         Illinois Department of Corrections
                          100 West Randolph, Suite 4-200
                               Chicago, Illinois 60601
                                   VIA U.S. MAIL

                       Jennifer M. Lutzke, Bar No. 6299388
                       Office of the Illinois Attorney General
                           100 W. Randolph, 13th Floor
                              Chicago, Illinois 60601
                            VIA EMAIL AND U.S. MAIL



                                                      s/ Patrick W. Spangler
                                                           Patrick W. Spangler
